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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION



UNITED STATES OF AMERICA

v.                                                 Case No. 8:03-cr-164-T-23MAP
                                                            8:05-cv-468-T-23MAP
GIRARDO BRAVO
                                             /


                                            ORDER

       Girardo Bravo’s motion to vacate sentence pursuant to 28 U.S.C. § 2255 (Doc. 1)

challenges the validity of his conviction for conspiracy to possess with intent to distribute five

kilograms or more of cocaine while aboard a vessel, for which offense Bravo was sentenced

to 108 months’ imprisonment. The conviction was pursuant to a plea agreement (Doc. 71).

       Upon preliminary review, the court noticed that the motion might be time-barred.

Because Bravo’s judgment was entered on November 17, 2003, his one-year limitations

period expired in November of 2004. Bravo purported signed his petition on October 25,

2004, but it was not received until March 10, 2005. Consequently, based on Houston v.

Lack, 487 U.S. 266, 276 (1988) (documentation from a prisoner pro se litigant is considered

“filed at the time petitioner delivered it to the prison authorities for forwarding to the court

clerk.”), Bravo was ordered (Doc. 3) to provide a copy of the prison mail log showing the date

he submitted the motion to vacate sentence to correctional officials for mailing. Bravo has

not responded to the order. He was warned that the failure to comply with the order would

result in the dismissal of his motion.
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        Accordingly, the motion to vacate sentence (Doc. 1) is DISMISSED due to Bravo’s

failure to comply with the prior order (Doc. 3) to provide a copy of the prison mail log showing

the date he submitted the motion to vacate sentence to correctional officials for mailing. The

Clerk shall enter a judgment against Bravo and CLOSE this action.

        ORDERED in Tampa, Florida, on May 9, 2005.




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